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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                               *
                                               *
IN RE GE ERISA LITIGATION                      *      Civil Action No. 1:17-cv-12123-IT
                                               *
                                               *

                                  MEMORANDUM & ORDER

                                         January 26, 2022

TALWANI, D.J.

       This is an action brought by participants in a 401(k) plan against General Electric

                  and related institutional and individual Defendants. Plaintiffs allege breaches

of fiduciary duties and prohibited transactions in violation of the Employee Retirement Income

                                 , 29 U.S.C. 18 § 1001, et seq. Second Consol. Am. Compl.

                                                                            Motion to Compel

[#203] certain documents that Defendants have withheld based on the attorney-client privilege.

Plaintiffs seek documents relating to GE sale of                                   GEAM ,

contending that Defendants have not met their burden of demonstrating that the documents

concern legal, rather than business, advice, and contending further, as to some of these

documents, that any privilege was waived when the documents were shared with third-party

Credit Suisse. Plaintiffs also seek documents relating to plan administration of the GE

Retirement Savi                       , contending that the attorney-client communications at

issue are with the plan fiduciaries and are thus subject to the fiduciary exception to the attorney-

client privilege. Defendants oppose the motion, contending that all the documents were properly

withheld as attorney-client privileged; that

                   contain business rather than legal advice is speculative and that the documents
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communications was necessary for legal advice and therefore did not waive the privilege; that

communications with individuals wearing multiple hats are protected where the advice was for

their own benefit and in their non-fiduciary capacities; and that communications on topics other

than the

fall outside of the fiduciary exception.

         The Motion [#203] is granted in part. Defendants shall comply with              requests as

limited by this order, and as to any documents that Defendants continue to seek to withhold

under an assertion of the attorney-client privilege, Defendants shall provide a revised privilege

log (and further declarations) clarifying their bases for withholding the documents in light of this

order.

   I.          Discussion

         A.       Attorney-Client Privilege

         The essential elements of attorney-client privilege, as described by Wigmore and

endorsed by the First Circuit, are as follows:

         (1) Where legal advice of any kind is sought (2) from a professional legal advisor
         in his capacity as such, (3) the communications relating to that purpose, (4) made
         in confidence (5) by the client, (6) are at his instance permanently protected, (7)
         from disclosure by himself or by the legal advisor, (8) except the protection be
         waived.

Cavallaro v. United States, 284 F.3d 236, 245 (1st Cir. 2002) (quoting 8 J.H. Wigmore, Evidence

§ 2292, at 554 (McNaughton rev. 1961)).

         The rationale behind the attorney-client privilege is that protecting client communications



law and better enable                                                                     Id.



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                                 -             id., it                          s only to the

extent necessary to achieve its underlying goal of ensuring effective representation through open

communication between lawyer and client,                                               , 2014 WL

1207128, at *2 (D. Mass. Mar. 24, 2014) (quoting In re Grand Jury Subpoena, 274 F.3d 563, 571

(1st Cir. 2001) (citing Fisher v. United States, 425 U.S. 391 (1976))).

          A party withholding otherwise discoverable information on a claim of privilege must



disclosed and do so in a manner that, without revealing information itself privileged or

                                                               R. Civ. P. 26(b)(5)(A)(ii). The party

asserting attorney-client privilege also bears the burden of showing it applies. Smith v. Jefferson

Pilot Fin. Ins. Co., 245 F.R.D. 45, 47 (D. Mass. 2007).

          B.       Documents Concerning the Sale of GEAM

          Plaintiffs seek to compel Defendants to produce documents concerning the sale of

GEAM, contending that the privilege log does not establish that the communications concern

only legal, as opposed to business, advice. Mot. to Compel 7 [#203]. Specifically, Plaintiffs

argue that Documents W1, W101-W105, W108-108.01, W114-W128.01, W132-W132.01,

W134-W135, W137-W144, W150-W318.02, W320 and W327-W329 are being improperly

withheld. Id. at 7 n.4. Defendants contend that they produced all documents containing business

advice and that the withheld documents contain legal advice and are privileged.           -7

[#207].

          For the attorney-client privilege to apply, communications

                                                                                  , 2014 WL

1207128, at *2 (citing                                                          , 60 F.3d 867, 884



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                       s, while the privilege extends to communications between corporate

officers and in-house counsel, such communications are only protected if they were made to the

                                                                                      Id. (citing

first Upjohn Co. v. United States, 449 U.S. 383, 389-90 (1981) and then United States v.

Windsor Capital Corp.

such as financial advice or discussions concerning business negoti

Pacamor Bearings, Inc. v. Minebea Co., Ltd., 918 F. Supp. 491, 511 (D.N.H. 1996) (collecting

cases).

          Defendants submitted declarations from (1) Matthew Simpson, the former general

counsel and executive vice president of GEAM and a Plan fiduciary; (2) Alison Douglass,

outside counsel from Goodwin Procter;

Shearman & Sterling, in support of their argument that the withheld documents concerning the

sale of GEAM contain legal advice. The Simpson Declaration [#211] states that during the

GEAM sale, Simpson and other in-house GE counsel and external counsel provided legal advice

                                            , on a range of topics, including compliance with

regulations implicated by the sale, legal issues raised during the bidding process, and potential

legal ramifications from how entities would be structured post-sale and that these legal issues

related to corporate interests and not fiduciary issues. Id. at ¶ 8. The Douglass Declaration [#208]

states that Douglass            represented GE in its sale of GEAM assets to State Street and that

the law firm

settlor of various employee benefit plans regarding ERISA issues arising from or relating to the

[sale of GEAM to State Street]. Id. at ¶ 5. Similarly, the               eclaration [#212] states




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                                                                                        Id. at ¶ 4.

       The declarations do not connect this work, however, to any specific privilege log entries.

Moreover, the Simpson Declaration                                      -

provided legal advice to GE regarding the sale of GEAM. Simpson Decl. ¶ 8 [#211]. As for the

Douglass Declaration [#208] and                             [#212], both state that outside counsel

provided legal advice to GE with respect to the sale of GEAM without identifying the specific

counsel who provided legal, rather than business, advice.

       The privilege log entries for documents the parties have identified as relating to the sale

of GEAM also fail to provide context as to the role of the specific individuals sending, receiving

or associated with the communication. See, e.g., Privilege Log Entry for Document W132

(omitting detail as to who originally provided legal advice and to whom). In sum, the court

cannot discern                             -house counsel or by outside counsel in withheld

communications. See, e.g., Privilege Log Entry for Document W226 (omitting explanation of



privilege claim).

       Because the court finds the privilege log insufficient, and a tandem reading of the

declarations and the privilege log descriptions does not remedy the issue, the court orders

Defendants to produce the documents, except those for which Defendants provide additional

context in the privilege log descriptions and the declarations (including the role played by

specific attorneys whose communications are at issue), or both, so that the court can determine

that the communications related to confidential legal advice sought from a lawyer.




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       C.        Documents that Include Credit-Suisse

       Plaintiffs also seek to compel a subset of the documents concerning the sale of GEAM

where the documents were disclosed to employees of third-party financial advisor, Credit Suisse.

Plaintiffs argue Defendants failed to demonstrate that

                                                                            ,   Mot. to Compel 9

[#203] (quoting Dahl v. Bail Capital Partners, 714 F. Supp. 2d 225, 228 (D. Mass. 2010)),

because Cr               financial expertise and industry experience do not demonstrate that

                                                                     legal advice, Reply 5

[#215]. Defendants state that because the specialized advice Credit Suisse was retained to

provide concerning the sale of the GEAM was necessary for

advice to GE,                                                        waive attorney-client

privilege.

                                -client privilege applies only to communications between an

attorney and the client, and the disclosure of such communications to a third-party undermines

                                                                    Columbia Data Prods., Inc. v.

Autonomy Corp. Ltd., 2012 WL 6212898, at *14 (D. Mass. Dec. 12, 2012) (citing Cavallaro,

284 F.3d at 246); see also In re Keeper of the Records, 348 F.3d 16, 22 (1st Cir. 2003). There

are, however, two exceptions to this rule:

       (1) The first [exception] concerns third parties who are employed to assist a
       lawyer in rendering legal advice. To come within this exception, three legal
       elements must be satisfied: (1) the third-party communications must be
       necessary, or at least highly useful, for the effective consultation between the
       client and the lawyers which the privilege is designed to permit[,] (2) the third-
       party must play
       communication must serve to translate information between the client and the
       attorney[,] and (3) the third-




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Hill v. State Street Corp., 2013 WL 6909524, at *3 (D. Mass. Dec. 30, 2013) (citing Cavallaro,

284 F.3d at 247 and Dahl, 714 F. Supp. 2d at 227-28). The second exception extends the

attorney-client privilege to communications between independent contractors and counsel where

                                                                            tion which facilitates the

                               Id. at *4 (quoting Cottillion v. United Refining Co., 279 F.R.D. 290,

299 (W.D. Pa. 2011)).

        Defendants submitted declarations from counsel describing the roles Credit Suisse

financial advisors played in the GEAM transaction. See Simpson Decl. ¶ 9 [#211] (in house and



we could take advantage of their subject matter expertise in formulating and reformulating our

                     ). Rory                                                                  stated

that he relied on outside financial advisors in a significant portion of mergers or acquisition

transactions and that in the GEAM transaction,                and other Shearman & Sterling

attorneys

strict confidence, where doing so was necessary for the Credit Suisse financial advisors to

facilitate our provision of legal advice to GE.                   l. ¶ 6 [#212]. This advice related

to asset purchase agreements, revisions proposed by bidders, and letters explaining how to

submit bids. Id. at ¶ 7.

        From the privilege log, however, the court cannot

financial advisors were necessary to the provision of legal advice.1 Some documents including



1
           Motion to Compel [#203] argues that Defendants are improperly withholding the
following documents because Credit Suisse is copied on the communications: Documents W115-
W117.01, W135, W150-W154.01, W156-W168.01, W186, W190-W190.01, W194-W197.01,
W201-W207.01, W210-W210.01, W212-W212.01, W214-W214.01, W217-W221.01,W223-
W223.01, W224-W225.01, W226-W228.01, W230-W230.01, W237, W247-W255.03,W257-
                                                   7
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Credit Suisse employees have privilege log descriptions consistent with attorney-client

privileged communications. See, e.g., Documents W214, W262, W274 (privilege log entries

state communications include [l]egal advice regarding draft agreements relating to the potential

sale o           . However, it is unclear from the log whether Credits Suisse               on the

communication was necessary to the provision of that legal advice. Also, the

Declaration [#212] suggests Credit Suisse financial advisors provided business advice in addition

to advice necessary for counsel to provide legal advice to GE. See                             ¶8

[#212]

financial models to determine the relative impacts of the purchase price adjustment and ensure

that the resulting changes to the relevant provision in the agreement accurately captured what

                                                                       id. at ¶¶ 7, 9 (explaining

Credit Suisse was asked to provide input on draft agreements prepared by outside counsel and

that outside counsel relied on Credit Suisse financial advisors to draft or review issue lists to

ensure lists accurately reflected status of the bidding negotiations so attorneys could advise GE

regarding potential legal issues).

         Defendants are ordered to produce responsive documents according to the following

instructions. First, for documents where the role of Credit Suisse employees was to provide

factual information or business advice relevant to the sale of GEAM, e.g., data from financial

models or information communicated to Credit Suisse from bidders,

waives attorney-client privilege because Credit Suisse employees were not called on to provide

advice necessary for counsel to provide legal advice to GE, and these documents must be




W260.01, W262-W262.01, W264-W264.01, W288-W290, W274, W279, W280-W281,W284-
W286, W288-W290, W291-W291.01, and W299-W299.02. Mot. to Compel 9 n.5 [#203].
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produced. Second, for documents in which Credit Suisse financial advisors provided

information to counsel necessary for counsel to provide legal advice concerning the sale of

GEAM, e.g., feedback on legal issues raised in drafts of documents attorneys shared with client,

those communications remain privileged despite                    presence. Third, for documents

in which Credit Suisse employees are copied on otherwise privileged communications, but where

their role is unclear, the presence of Credit Suisse employees waives privilege, and the

documents must be produced.

       D.      Documents Falling Under the Fiduciary Exception

       Plaintiffs argue that Defendants improperly withheld documents Plaintiffs are entitled to

under the fiduciary exception to attorney-client privilege including (1) investment plan

documents; (2) documents related to committee charter amendments; and (3) documents

withheld under the liability exception. Mot. to Compel 10-16 [#203]; Reply 7-11 [#215].

Defendants contend they satisfied their obligations under the fiduciary exception and only

                                                                                  -20 [#207].

       Where attorney-

fiduciary exception provides that an employer acting in the capacity of an ERISA fiduciary is

disabled from asserting the attorney-client privilege against plan beneficiaries on matters of plan

                 Smith, 254 F.R.D. at 47 (citing United States v. Mett, 178 F.3d 1058, 1063 (9th

Cir. 1999)).

held that the exception derives from

                                              Id. at 48 (quoting Mett




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communications with an attorney that are i

Id. (quoting In re Long Island Lighting Co., 129 F.3d 268, 271-72 (2d Cir. 1997)).

                                                        -client privilege to narrow the fiduciary

obligation of disclosur                                      Id. (quoting Long Island Lighting, 129

F.3d at 272).



as a representative for the beneficiaries of the trust which he is administering, the trustee is not

                                                                   Id. (quoting Mett, 178 F.3d at

1063). Courts adopting this rationale have found that

                            and

the beneficiaries to their own private interests under the guise of attorney-                      Id.

(quoting Washington-Baltimore Newspaper Guild, Local 35 v. Washington Star Co., 543 F.

Supp. 906, 909 (D.D.C. 1982)).

       Regardless of the rationale, courts have found that                              does not

defeat the attorney-client privilege with respect to communications between a fiduciary and its

attorneys on non-                      Id. (citing Long Island Lightning, 129 F.3d at 271)

                ability to invoke the attorney-client privilege to resist disclosure sought by plan

beneficiaries turns on whether or not the communication concerned a matter as to which the

[defendant] owed a fiduciary obligation to the beneficiaries . Thus,

retains counsel in order to defend herself against the plan beneficiaries . . . the attorney-client

                             Id. (quoting Mett, 178 F.3d at 1064).

       In support of their argument that these withheld documents do not fall under the fiduciary

exception, Defendants submitted declarations from counsel. Matthew Simpson



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necessary to provide advice [to Plan fiduciaries concerning their potential exposure to litigation]



and other companies had been sued regarding investments ma

Simpson Decl. ¶ 4 [#211]. Simpson also states that he instructed Jerry Wald and Elizabeth

Schultz, corporate counsel for GE, to review and comment on documents, including the

Investment Policy Statement, GEAM Committee charters, and investment directives relating to



                                              Id. at ¶ 6. Simpson states he did this in his capacity

             General Counsel,

                                                                              Id.

        Schutz and Wald also submitted declarations, which state they both provided legal advice

for the benefit of GE in its capacity as the settlor of an employee benefit plan. Schultz Decl. ¶ 4

[#210]; Wald Decl. ¶ 4 [#209]. Wald and Schultz state they reviewed drafts of the Investment

Policy Statement in 2011/2012 to perform

                                                              Schultz Decl. ¶ 7 [#210]; Wald Decl.

¶ 6 [#209]. Both attorneys state this review was necessary given the prevalence of 401(k) plan

related litigation,                                          , and in order to provide advice as to

whether parts of the Investment Policy Statement would necessitate an amendment to the Plan.

Schultz Decl. ¶ 8 [#210]; Wald Decl. ¶ 7 [#209]. Schultz also states that Amy Moore, outside

counsel from Covington and Burling

role regarding whether the documents . . . accurately reflected the Plan design set forth by GE in

the Plan Document and whether they posed any litigat                                      Schultz




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Decl. ¶ 9 [#210].2

           1.         Settlor v. Fiduciary Duties

                i.       Legal Standard



discretionary decisions regarding investment or liquidation of plan assets, communications to

plan beneficiaries, and plan benefits claims             Hill, 2013 WL 6909524, at *2 (quoting

Tatum v. R.J. Reynolds Tobacco Co., 247 F.R.D. 488, 496 (M.D.N.C. 2008) (internal citation

omitted)); see also                         ., 575 U.S. 523 (2015). Plan creation, design,

amendment, and termination, however, are settlor functions and do not implicate the fiduciary

exception. Krueger v. Ameriprise Fin., Inc. LLC, 2014 WL 12597432, at *11 (D. Minn. May 7,

2014)   when employers adopt, modify, or terminate plans that provide pension benefits, they do



        When it comes to asserting attorney-client privilege,

         [t]he plan administrator may assert attorney-client privilege as to
        communications between the administrator and its attorneys on non-fiduciary

        functions of adopting, amending, or terminating an ERISA plan, and not to


Hill, 2013 WL 6909524, at *2 (quoting Tatum, 247 F.R.D. at 493).

        [W]hen the same lawyer gives advice to the employer (i) as employer on matters
        that are non-fiduciary under ERISA, and (ii) as plan fiduciary, the privileged
        consultation on non-fiduciary matters does not defeat the fiduciary exception that
        allows beneficiaries to discover the otherwise privileged communications on
        fiduciary matters.


2

that Defendants have produced over 1000 emails including attorneys and hundreds of documents
Defendants determined fell within the fiduciary exception. Douglass Decl. ¶ 7 [#208]. By way of
example, Douglass states Defendants produced to Plaintiffs documents that included Simpson
and Moore, and documents from GE Benefits Plan Investment Committee Meetings where
counsel provided legal advice. Id.
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Long Island Lighting Co., 129 F.3d at 272 (emphasis in original).

               ii.     Analysis

       The court finds the privilege log descriptions insufficiently specific to determine whether

these withheld documents relate exclusively to settlor functions and were properly withheld.



advice regarding settlor-                                Documents W9, W15, W22;

advice regarding settlor-                                Documents W15.01, W44, W54, W319,

                                                                  -directed governance structure,

Document W10 G                                         a term for the court to assess whether these

communications relate to fiduciary functions, including Plan administration, and should be

produced to Plaintiffs, or whether these documents pertain to Plan creation, design, amendment,

or termination, and were properly withheld under the settlor exception. Ultimately, it is the

function to which the communication relates, rather than the intended beneficiary of the

communication, that determines whether the fiduciary exception applies.

       Defendants are instructed to review these withheld documents and to produce all

responsive documents that (1) describe or communicate changes in plan benefits to beneficiaries,

(2) describe or discuss Plan investment strategies, (3) address

statutory obligations, or (4) concern any other aspects of Plan administration. See Cobell v.

Norton, 212 F.R.D. 24, 29 (D.D.C. 2002) (citing first Martin v. Valley National Bank of

Arizona, 140 F.R.D. 291, 308 (S.D.N.Y. 1991) and then Washington Star Co., 543 F. Supp. at

909 n.5) (                                                  ves, or strategy is part of the ordinary

business of a trust and a trustee, and such legal communications and advice permit no claim of

privilege. A trustee has no legitimate need to shield his actions from those whom he is obligated

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           ) (internal citation omitted); see also                                                  ,

644 F.3d 221, 231 (4th Cir. 2011) (affirming

                                                                                            e meetings,

and correspondence that concerned the Madoff-

      a

have a fiduciary obligation to disclose in response to a subpoena from plan beneficiaries

provided                                                       . Defendants may withhold

documents that deal exclusively with settlor functions and, to the extent documents address both

fiduciary and settlor functions, Defendants must produce redacted documents. Finally, as to

documents Defendants maintain should be withheld, Defendants must update their privilege log

to describe with specificity the settlor function involved in each communication so Plaintiffs

(and if necessary, the court) can adequately assess                                    .3

             2.      Anticipated Litigation

          Turning next to documents Plaintiffs argue Defendants improperly withheld under the

liability exception to the fiduciary exception, Mot. to Compel 14-16 [#203], Plaintiffs contend

these documents should be produced because they (1) predate this litigation; (2) concern Plan

administration, not personal liability for fiduciaries; and (3) address general litigation risks, id.;

see also Reply 10-11 [#215], and therefore do not fall under the liability exception.

          Defendants contend they properly invoked the liability exception because the withheld

documents (1) seek advice for personal defense of Plan fiduciaries; (2) address legal obligations

                               ; and (3)                                                        light of



3
 The liability exception, discussed in detail in the subsequent section, is distinct from the settlor
exception. Therefore, whether one of the purposes of the communication was general risk
mitigation has no bearing on whether the document qualifies under the settlor exception.
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the frequency of 401(k) lawsuits during the relevant time period.              -20 [#207].

               i.        Legal Standard



divergence of interests and a threat of litigation such that it is warranted for the fiduciary to

obtain confidential advice from counsel and assert attorney-client privilege on the matter against

                    Hill, 2013 WL 6909524, at *3 (internal citation and quotation omitted). This

exception is narrow,                    not recognize the existence of an attorney-client privilege

except where a trustee obtained legal advice solely to protect himself personally from . . . civil or

criminal liability, an objective that is inherently inconsistent with his o

Cobell, 212 F.R.D. at 30 (emphasis in original). Moreover, when it is asserted that the



 whether the litigation involving the fiduciary is pending or imminent, as opposed to a general

                    Carr v. Anheuser-Busch Companies, Inc., 791 F. Supp. 2d 672, 675 (E.D. Mo.

2011), aff d, 495 F. App x 757 (8th Cir. 2012) (citing Black v. Bowes, 2006 WL 3771097 at *3

(S.D.N.Y. Dec. 21, 2006)).

                                                             Black, 2006 WL 3771097, at *3.

       The cases discussing the liability exception



       advice clearly does not implicate the trustee in any personal capacity, the trustee
       cannot invoke the attorney-client privilege against the plan beneficiaries. On the
       other hand, where a plan fiduciary retains counsel in order to defend herself
       against the plan beneficiaries (or the government acting in their stead), the
       attorney-

Hill, 2013 WL 6909524 at *3 (quoting Mett, 178 F.3d at 1064).




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               ii.     Analysis

        The court has reviewed the privilege log descriptions where Defendants invoke the

liability exception and finds the descriptions too vague or imprecise to demonstrate that the

liability exception applies. The entries state the documents were withheld because they contain

                                                                See Documents W8; W14.02; W53-

W53.02; W66; W68.01; W81-W82; W92-W93; W100; W145-W147.

        First, the fact that these documents predate the filing of this suit weighs in favor of

Plaintiffs           because general concerns prior to the filing of the suit do not implicate the

liability exception and, instead, implicate a fiduciary duty to guard against general litigation

risks. Second, the court is not persuaded that the prevalence of other 401(k) litigation during the

relevant time period is a specific enough litigation risk to allow Defendants to withhold such

documents because, again, guarding against a generalized risk of litigation is a fiduciary duty and

does not create a divergence between the interests of the fiduciaries and Plan beneficiaries.

Moreover, it may often be the case that litigation against other ERISA entities is prevalent; if a

fiduciary could point to such litigation as creating a liability risk that would remove

communications from the fiduciary exception, the exception would cease to function as intended.

Third, while legal advice concerning

would present a specific litigation risk that could require privileged communication, and the

court would likely find such documents attorney-client privileged, the court is unable to identify

any such documents given the limited privilege log descriptions.

        Accordingly, Defendants shall produce records from this privilege log withheld solely on

the basis of the liability exception, unless the document references the previous settlement




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agreement. Defendants may withhold the document and provide a more detailed log to support

the litigation privilege, subject to further challenge by the Plaintiffs as appropriate.

   II.      Conclusion

         For the aforementioned reasons,               Motion to Compel [#203] is ALLOWED IN

PART and DENIED IN PART.

         IT IS SO ORDERED.

         January 26, 2022                                      /s/ Indira Talwani
                                                               United States District Judge




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